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AO 91 (Rev. 11111)     Criminal Complaint



                                            UNITED STATES DISTRICT COURT'
                                                                      for the
                                                              District of Columbia

                     United States of America                            )
                                v.                                       )
                                                                         )      Case No.
                        JACOB ZERKLE
                                                                         )
                         DOB:XXXXXX                                      )
                                                                         )
                                                                         )
                              Defendant(s)


                                                     CRIMINAL COMPLAINT

           I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
 On or about the date(s) of                       January 6, 2021               in the county of                                    in the
                             in the District of      Columbia        , the defendant(s) violated:

             Code Section                                                          Offense Description
        18 U.S.C.     § 111(a)(I)- Assaulting, Resisting, or Impeding Certain Officers,
        18 U.S.C.     § 231(a)(3)- Civil Disorder,
        18 U.S.C.     § 1752(a)(I)- Entering and Remaining in a Restricted Building or Grounds,
        18 U.S.C.     § 1752(a)(2)- Disorderly and Disruptive Conduct in a Restricted Building or Grounds,
        18 U.S.C.     § 1752(a)(4)- Engaging in Physical Violence in a Restricted Building or Grounds,
        40 U.S.C.     § 5104(e)(2)(D)- Disorderly Conduct in a Capitol Building,
        40 U.S.C.     § 5104(e)(2)(F)- Act of Physical Violence in the Capitol Grounds or Buildings.

          This criminal complaint is based on these facts:
  See attached statement of facts.




         M Continued on the attached sheet.




                                                                                              Bret Curtis, Special Agent
                                                                                                       Printed name and title
Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone.                                                                                                      2022.03.14
                                                                                                                   14:33:38 -04'00'
Date:                03/14/2022
                                                                                                         Judge's signature

City and state:                             Washin on D.C.                        Robin M. Meriweather,           U.S. Magistrate Judge
                                                                                                       Printed name and title
